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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )                 8:08-cr-183
                                               )
RONALD PROKUPEK and                            )                TRIAL ORDER
CHRISTINE McGLOTHLEN,                          )
                                               )
                     Defendants.               )


       In accordance with the Speedy Trial Act,

       IT IS ORDERED:

       1. The above-entitled case is scheduled for a jury trial before the Honorable Laurie
Smith Camp, District Court Judge, to begin Tuesday, September 8, 2009 at 9:00 a.m. in
Courtroom No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th
Plaza, Omaha, Nebraska; because this is a criminal case, defendant(s) must be present in
person. Counsel will receive more specific information regarding the order of trial from Judge
Smith Camp’s staff.

       2. Any motions for a continuance of this trial date shall be electronically filed on or
before August 25, 2009 and shall (a) set forth the reasons why the moving party believes that
the additional time should be allowed and (b) justify the additional time, citing specific
references to the appropriate section(s) of the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
Any defense motion for continuance shall be accompanied by a written affidavit signed by the
defendant in accordance with NECrimR 12.1.

     3. Counsel for the United States shall confer with defense counsel and, no later than
September 1, 2009, advise the court of the anticipated length of trial.

       DATED August 17, 2009.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
